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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA


 JOSEPH ERNEST TAYLOR,                             )
                                                   )
                             Plaintiff,            )
        vs.                                        )      No. 3:05-cv-195-RLY-WGH
                                                   )
 MARALEE CLAYTON, et al.,                          )
                                                   )
                             Defendants.           )




                           Entry Concerning Selected Matters

      The court, having considered the above action and the matters which are pending,
 makes the following rulings:

        1.      "If a document filed within the time specified by Rule 4 gives the notice
 required by Rule 3, it is effective as a notice of appeal." Smith v. Barry, 502 U.S. 244,
 248-49 (1992). Under Fed.R.App.P. 3(c), a notice of appeal must "specify the party or
 parties taking the appeal . . . designate the judgment, order, or part thereof being appealed[
 ] and . . . name the court to which the appeal is being taken." Fed. R.App.P. 3(c). Guided
 by these principles, the plaintiff’s filing of February 16, 2006, shall be processed as a
 notice of appeal from the final judgment entered on the clerk’s docket on February 1,
 2006.

          2.     The plaintiff’s request for leave to proceed on appeal in forma pauperis with
 respect to his notice of appeal is denied. An appeal may not be taken in forma pauperis
 if the trial court certifies that the appeal is not taken in good faith. 28 U.S.C. § 1915; see
 Coppedge v. United States, 369 U.S. 438, 82 S. Ct. 917 (1962). "Good faith" within the
 meaning of § 1915 must be judged by an objective, not a subjective, standard. Id. There
 is no objectively reasonable argument which the plaintiff could present to argue that the
 disposition of this action was erroneous–nor does his request for leave to proceed on
 appeal in forma pauperis identify such an argument. In pursuing an appeal, the plaintiff “is
 acting in bad faith . . . [because] to sue in bad faith means merely to sue on the basis of a
 frivolous claim, which is to say a claim that no reasonable person could suppose to have
 any merit.” Lee v. Clinton, 209 F.3d 1025, 1026 (7th Cir. 2000).
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        3.     The plaintiff’s request for the appointment of counsel is denied because (a)
 it has been filed in the wrong forum, and (b) there is no supportable reason to appoint
 counsel to aid in a frivolous appeal.

         IT IS SO ORDERED.




                                               _______________________________
 Date:    02/22/2006
                                                RICHARD L. YOUNG, JUDGE
                                                United States District Court
                                                Southern District of Indiana




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